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CENT RAL DISTRICT OF CALC

United States District Cott
Central District of California
Western Division

LABORERS’ HEALTH AND CV 93-6348 TJH (SHx)
WELFARE FUND FOR SOUTHERN
CALIFORNIA, ef al.

Plaintiffs Findings of Fact
v. ang
W.A. RASIC CONSTRUCTION Conclusions of Law

COMPANY, INC., etc.
on Remand

Defendant. . woe METER
AND RELATED CROSS-ACTION. |... “ALU COPY PT¥S
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After conducting a court trial, this Court issued findings of fact and
conclusions of law on May 15, 1996. W.A. Rasic Construction Company, Inc.
(“Rasic Construction”), thereafter, appealed to the Court of Appeals for the Ninth
Circuit. On May 21, 1998, the Court of Appeals reversed and remanded with

instructions to consider equitable factors to determine whether Rasic Construction
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mended Findings of Fact and Conclusions of Law - Page T of 4 ‘
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l is entitled to a refund of payments made on behalf of Walter A. Rasic to the
2 Construction Laborers’ Pension Trust for Southern California (“Pension Trust”),
3 Laborers’ Training and Re-training Trust for Southern California (“Training
4 Trust”), and Fund for Construction Industry Advancement ("FCIA”), (collectively
5 “Trust Funds”). Laborers’ Health and Welfare Fund for So. Cal. v. W.A. Rasic
6 Construction Co., 145 F.3d 1338 (Table), 1998 WL 279400 at *2 (9th Cir. May 21,
7 1998).
8 The Ninth Circuit indicated that it would be inequitable for any of the Trust
9 Funds which have neither paid benefits, nor risk paying any benefits, to keep the
10 mistakenly made contributions merely because other Trust Funds paid out benefits.
lI In addition, the Ninth Circuit indicated that, when balancing the equities, this Court
12 should consider any financial impact a refund would have on the Trust Funds, a
13 refund’s effect on beneficiaries of the Trust Funds, and Rasic Construction’s delay
14 in seeking a refund.
15 On February 22, 1999, the Court held a supplemental court trial on the
16 balancing of the equities. Having considered the evidence and arguments by the
17 parties, the matter having been submitted for a decision, the Court makes the
18 following supplemental findings of fact and conclusions of law upon remand:
19
20 FINDINGS OF FACT
21 1. Rasic Construction mistakenly paid $65,107.50 to the Trust Funds on
29 behalf of W.A. Rasic . Of this amount, the Pension Trust received $62,252.95, the
93 Training Fund received $2,373.27, and the FCIA received $481.28.
94 2.  W.A. Rasic received benefits from the mistaken contributions made to
25 the Training Trust because it provided him the opportunity to improve and upgrade
26 his skills.

Amended Findings of Fact and Conclusions of Law - Page 2 of 4

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I 3. W.A. Rasic received benefits from the mistaken contributions made to
2 the FCIA because it promoted the interests of the construction industry, of which
3 W.A. Rasic is a member.
4 4. W.A. Rasic has not, and will not, receive benefits from the mistaken
5 contributions made to the Pension Trust.
6 5. The financial stability of the Pension Trust will not be affected if it
7 refunds Rasic Construction’s mistaken contributions.
8 6. A refund of the mistaken contributions to the Pension Trust will not
9 have a negative impact on the Pension Trust’s other beneficiaries.
10 7.  Rasic Construction did not delay in seeking a refund of the mistaken
ll contributions.
12 8. The equities tip in favor of Rasic Construction as to the contributions
13 made to the Pension Trust. Therefore, Rasic Construction is entitled to a refund
14 from the Pension Trust.
15 9. The equities tip in favor of the Trust Funds as to the contributions made
16 to the Training Fund and the FCJA. Therefore, Rasic Construction is not entitled
17 to a refund from the Training Fund and the FCIA.
18
19 CONCLUSIONS OF LAW
20 1. A mistake in payments will result in a refund only if the equities favor
2] restitution. British Motor Car Distrib. v. San Francisco Automotive Indus. Welfare
22 Fund, 882 F.2d 371, 374 (9th Cir. 1989).
23 2. In balancing the equities, the Court should consider the refund’s
24. financial impact on the Trust Funds, the effect on beneficiaries of the Trust Funds,
95 and Rasic Construction’s delay in seeking a refund. Laborers’ Health and Welfare
%6 Fund for So. Cal. v. W.A. Rasic Construction Co., 145 F.3d 1338 (Table), 1998

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WL 279400 at *2 (9th Cir. May 21, 1998).
3. The above Conclusions of Law, insofar as they may be considered

Findings of Fact, are so found by this Court to be true in all respects.

Date: April 21, 1999
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fea rp J. Hatter, Ut.
Chief United States District Judge

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Amended Findings of Fact and Conclusions of Law - Page 4 of 4

